      Case 1:16-cv-02145-JEJ-MCC Document 93 Filed 10/10/17 Page 1 of 9



              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                        :
ELLEN BARTELS AND FREDERICK L.                          :
BARTELS, JR., Individually and as                       :
Administrators of the Estate of Abrielle Kira           : C.A. NO.:
Bartels, Deceased,                                      : 1:16-cv-02145-CCC
                                       Plaintiffs,      :
                        vs.                             : (CONNER, C.J.)
                                                        :
THE MILTON HERSHEY SCHOOL,                              :
                                                        :
and                                                     :
                                                        :
THE HERSHEY TRUST COMPANY, AS                           :
TRUSTEE OF THE MILTON HERSHEY                           :
SCHOOL TRUST,                                           :
                         Defendants.                    :
                                                        :

                                       ORDER

      Now, this ____ day of ___________________, 2017, upon consideration of

the Joint Motion to extend the deadlines set forth in the Court’s August 17, 2017,

Case Management Order (Dkt. 67), jointly filed by Plaintiffs, Julie Ellen Wartluft

f/n/a Julie Ellen Bartels, and Frederick L. Bartels, Jr., Individually and as

Administrators of the Estate of Abrielle Kira Bartels, Deceased (together,

“Plaintiffs”), and Defendants The Milton Hershey School, and The Hershey Trust

Company, as Trustee of the Milton Hershey School Trust, it is hereby ORDERED

that the Joint Motion is GRANTED as follows:
     Case 1:16-cv-02145-JEJ-MCC Document 93 Filed 10/10/17 Page 2 of 9



      1.       The Court’s August 17, 2017, Case Management Order (Dkt. 67), is

vacated; and

      2.       The Court shall issue a new Case Management Order extending all

deadlines by forty-five days.



                                             _____________________________
                                             Christopher C. Conner, Chief Judge
                                             United States District Court
                                             Middle District of Pennsylvania




                                         2
      Case 1:16-cv-02145-JEJ-MCC Document 93 Filed 10/10/17 Page 3 of 9



                 IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                        :
ELLEN BARTELS AND FREDERICK L.                          :
BARTELS, JR., Individually and as                       :
Administrators of the Estate of Abrielle Kira           : C.A. NO.:
Bartels, Deceased,                                      : 1:16-cv-02145-CCC
                                       Plaintiffs,      :
                        vs.                             : (CONNER, C.J.)
                                                        :
THE MILTON HERSHEY SCHOOL,                              :
                                                        :
and                                                     :
                                                        :
THE HERSHEY TRUST COMPANY, AS                           :
TRUSTEE OF THE MILTON HERSHEY                           :
SCHOOL TRUST,                                           :
                         Defendants.                    :
                                                        :

                JOINT MOTION TO EXTEND THE COURT’S
                      CASE MANAGEMENT ORDER

      Defendants The Milton Hershey School, and The Hershey Trust Company,

as trustee of The Milton Hershey School Trust (collectively, “Defendants”), and

Plaintiffs, Julie Ellen Wartluft f/n/a Julie Ellen Bartels, and Frederick L. Bartels,

Jr., Individually and as Administrators of the Estate of Abrielle Kira Bartels,

Deceased (“AB”) (together, “Plaintiffs”), jointly move to extend the deadlines set

forth in this Court’s August 17, 2017, Case Management Order (Dkt. 67), pursuant

to Federal Rules of Civil Procedure 6(b) and 16(b)(4).
      Case 1:16-cv-02145-JEJ-MCC Document 93 Filed 10/10/17 Page 4 of 9



I.    BACKGROUND

      Following the filing of the Complaint in this action, on or about September

27, 2016, this case was transferred from the United States District Court for the

Eastern District of Pennsylvania to this judicial district. (Dkts. 18-19.) On

October 28, 2016, Plaintiffs filed an Amended Complaint against Defendants

bringing claims based on: the Fair Housing Act, 42 U.S.C. § 3602, et seq. (“FHA”)

(Count I); negligence (Count III); wrongful death (Count V); survival act (Count

VI); negligent misrepresentation (Count VII); intentional misrepresentation (Count

VIII); intentional infliction of emotional distress (Count IX); negligent infliction of

emotional distress (Count X); civil conspiracy (Count XI); breach of fiduciary duty

(Count XII); and negligence per se (Count XIII).1 (Dkt. 29.) On November 14,

2016, Defendants moved to dismiss some counts of the Amended Complaint for

failure to state a claim under Rule 12(b)(6) of the Federal Rules of Civil Procedure.

(Dkts. 31-32.) On August 10, 2017, the Court granted Defendants’ partial motion

to dismiss. (Dkts. 63-64.)

      The parties have diligently conducted written and oral discovery in this

action. Defendants have produced approximately 2,200 pages of documents, and




      1
     Counts II, and IV from the original Complaint were omitted from the
Amended Complaint. See (Dkt. 1.)

                                           2
      Case 1:16-cv-02145-JEJ-MCC Document 93 Filed 10/10/17 Page 5 of 9



Plaintiffs have likewise produced approximately 600 pages of materials.

Supplemental written discovery is ongoing.

      The parties have also conducted over sixteen oral or videotaped depositions.

Plaintiffs and Defendants, in good faith, continue to schedule additional

depositions, including various third-party mental health providers.

II.   ARGUMENT

      Pursuant to Rule 16(b)(4), a pretrial scheduling order “may be modified only

for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). Rule

16(b)’s “good cause” standard “focuses on the moving party’s burden to show due

diligence.” Race Tires Am., Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 84 (3d

Cir. 2010). Here, for the following reasons, the parties have demonstrated due

diligence, and the deadlines set forth in the Court’s Case Management Order (Dkt.

67), should be extended by forty-five days.

      First, Plaintiffs filed a complex action advancing multiple theories of

liability based upon, inter alia, the FHA, and negligence based actions. According

to the Amended Complaint, Defendants discriminated against AB based upon a

purported mental health disability. In order to adequately investigate Plaintiffs’

claims and Defendants’ defenses, the parties intend to conduct additional

depositions as outlined in their Joint Case Management Plan and Initial

Disclosures. (Dkt. 35.) The parties intend to depose additional third-parties, such

                                          3
      Case 1:16-cv-02145-JEJ-MCC Document 93 Filed 10/10/17 Page 6 of 9



as medical and mental health professionals, records custodians, as well as other

third-party fact witnesses. The parties are amicably working to schedule these

important discovery depositions.

      Second, in light of the causes of action asserted by Plaintiffs and the

allegations of mental health disabilities, Plaintiffs and Defendants have

subpoenaed third-party medical providers who have provided medical and mental

health treatment to AB. Some of those providers, however, have failed to comply

with the subpoenas and have not produced documents. Typically, third-party

medical providers refuse to comply with subpoenas for these types of records

without a Court order (based on the Health Insurance Portability and

Accountability Act of 1996, and similar state laws, like the Pennsylvania Mental

Health Procedures Act), and Defendants will need to request the Court’s

intervention to promptly secure these highly relevant documents. The parties are

actively meeting and conferring with third-party mental health providers in order to

obtain these highly relevant and discoverable medical materials.

      Third, undersigned counsel are the same counsel in Dobson v. Milton

Hershey School, et al., 1:16-CV-1958-CCC (M.D. Pa.), which is also assigned to

this Court. The Dobson matter involves complex theories of liability and causes of

action. The parties are coordinating discovery in that complex litigation as well.




                                          4
       Case 1:16-cv-02145-JEJ-MCC Document 93 Filed 10/10/17 Page 7 of 9



       Fourth, the parties are filing this Motion jointly, and the discovery deadline

has not expired. Thus, the parties respectfully request that all Case Management

Order deadlines be extended for forty-five days.

III.   CONCLUSION

       For the foregoing reasons, and for good cause shown, the parties jointly

request that the Court enter an Order extending all case management deadlines as

outlined above.



Respectfully submitted,

/s Gregory F. Cirillo                    /s Jarad W. Handelman
Gregory F. Cirillo, Esquire              Jarad W. Handelman, Esquire
(PA 46878)                               (PA 82629)
John J. Higson, Esquire                  Kyle M. Elliott, Esquire
(PA 80720)                               (PA 306836)
Dilworth Paxson LLP                      Elliott Greenleaf, P.C.
1500 Market Street, Suite 3500E          17 N. Second Street, Suite 1420
Philadelphia, PA 19102                   Harrisburg, PA 17101
215.575.7000 (phone)                     717.307.2600 (phone) / 717.307.2060 (fax)
215.575.7200 (fax)                       215.977.1000 (phone) / 215.977.1099 (fax)
gcirillo@dilworthlaw.com                 jwh@elliottgreenleaf.com
jhigson@dilworthlaw.com                  kme@elliottgreenleaf.com
Counsel for Plaintiffs                   Counsel for Defendants

Dated: October 10, 2017




                                          5
      Case 1:16-cv-02145-JEJ-MCC Document 93 Filed 10/10/17 Page 8 of 9



                   CERTIFICATION OF CONCURRENCE

      Pursuant to Local Civil Rule 7.1, as this Motion is filed jointly, all counsel

concur with the Motion.

Respectfully submitted,


/s Gregory F. Cirillo                   /s Jarad W. Handelman
Gregory F. Cirillo, Esquire             Jarad W. Handelman, Esquire
(PA 46878)                              (PA 82629)
John J. Higson, Esquire                 Kyle M. Elliott, Esquire
(PA 80720)                              (PA 306836)
Dilworth Paxson LLP                     Elliott Greenleaf, P.C.
1500 Market Street, Suite 3500E         17 N. Second Street, Suite 1420
Philadelphia, PA 19102                  Harrisburg, PA 17101
215.575.7000 (phone)                    717.307.2600 (phone) / 717.307.2060 (fax)
215.575.7200 (fax)                      215.977.1000 (phone) / 215.977.1099 (fax)
gcirillo@dilworthlaw.com                jwh@elliottgreenleaf.com
jhigson@dilworthlaw.com                 kme@elliottgreenleaf.com
Counsel for Plaintiffs                  Counsel for Defendants

Dated: October 10, 2017
     Case 1:16-cv-02145-JEJ-MCC Document 93 Filed 10/10/17 Page 9 of 9



                          CERTIFICATE OF SERVICE
      I, Kyle M. Elliott, Esquire, hereby certify that I caused the foregoing Joint

Motion to Extend the Court’s Case Management Order to be filed electronically

with the Court, where it is available for viewing and downloading from the Court’s

ECF system, and that such electronic filing automatically generates a Notice of

Electronic Filing constituting service of the filed document upon all counsel of

record, including:

Gregory F. Cirillo, Esquire
John J. Higson, Esquire
Dilworth Paxson LLP
1500 Market Street, Suite 3500E
Philadelphia, PA 19102
215.575.7000 (phone)
gcirillo@dilworthlaw.com
jhigson@dilworthlaw.com
Counsel for Plaintiffs

                                              /s Kyle M. Elliott
                                              Kyle M. Elliott, Esquire
Dated: October 10, 2017
